Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 1 of 10



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 18-CR-20685-WILLIAMS

   UNITED STATES OF AMERICA

   v.

   ABRAHAM EDGARDO ORTEGA,

                           Defendant.
   ________________________________________/

             UNITED STATES’ UNOPPOSED MOTION FOR PRELIMINARY ORDER OF
              FORFEITURE, AND MEMORANDUM OF LAW IN SUPPORT THEREOF

              Pursuant to 18 U.S.C. § 982(a)(1), and the procedures set forth in 21 U.S.C. § 853 and Rule

   32.2(b)(2) of the Federal Rules of Criminal Procedure, the United States of America (the “United

   States”) hereby moves for the entry of a Preliminary Order of Forfeiture against Defendant

   Abraham Edgardo Ortega (hereinafter, the “Defendant”) in the above-captioned matter. The

   United States seeks a forfeiture money judgment in the amount of $12 million and the forfeiture

   of certain assets in partial satisfaction thereof. In support of this motion, the United States

   provides the attached Declaration of Special Agent Alan G. Vega of Homeland Security

   Investigations (“HSI”) and the following factual and legal bases.

        I.         FACTUAL BACKGROUND AND PROCEDURAL HISTORY

              1.      On August 16, 2018, a federal grand jury in the Southern District of Florida

   returned an Indictment charging the Defendant and others with conspiracy to commit money

   laundering in violation of 18 U.S.C. § 1956(h), substantive counts of money laundering in

   violation of 18 U.S.C. § 1956, and substantive counts of interstate and foreign travel in aid of

   racketeering in violation of 18 U.S.C. § 1952. Indictment, ECF No. 19. The Indictment also

   contained forfeiture allegations, which alleged that upon conviction of a violation of 18 U.S.C.
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 2 of 10



   § 1956, as alleged in the Indictment, the Defendant shall forfeit to the United States any property,

   real or personal, involved in such offense, and any property traceable to such property, pursuant

   to 18 U.S.C. § 982(a)(1). Id. at 5. The Indictment also alleged that upon conviction of a violation

   of 18 U.S.C. § 1952, as alleged in the Indictment, the Defendant shall forfeit to the United States

   any property, real or personal, which constitutes or is derived from proceeds traceable to such

   offense, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).             Id. at 5-6.    The

   Indictment alleged that certain specific property was subject to forfeiture. Id. at 6-8.

          2.      On October 24, 2018, a one-count Superseding Information was filed, charging the

   Defendant with conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h).

   Superseding Information, ECF No. 53.

          3.      On October 26, 2018, the Court issued the Amended Protective Order for Assets

   Subject to Forfeiture (“Amended Protective Order”), which amended the Protective Order for

   Assets Subject to Forfeiture that was entered on August 22, 2018. See Protective Order, ECF No.

   32; Am. Protective Order, ECF No. 60. The Amended Protective Order enjoined and restrained

   the following property, among other assets, alleged to be subject to forfeiture pursuant to 18 U.S.C.

   §§ 981(a)(1)(C) and 982(a)(1), in order to preserve their availability for criminal forfeiture:

                  c.      All assets on deposit in account number 1466054 at City National Bank held

          by Global Securities Trade Finance;

                  d.      All assets on deposit in account/portfolio number 1303311-00 at Deltec

          Bank & Trust Limited in Nassau, THE BAHAMAS, including, but not limited to:

                          i.   All shares of Global Securities Trade Finance Class D Series D-1; and

                          ii. Approximately 15,813.315 LU0928615466 Fenice SICAV SIF – Eagle

                               Global;




                                                     2
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 3 of 10



                 e.      All assets on deposit in account/portfolio number 10.608645 at Zarattini &

          Co Bank in Lugano, SWITZERLAND, including, but not limited to:

                         i.   Approximately 16,000 Fenice SICAV-SIF SCA SICAV-SIF – Eagle

                              Global; and

                         ii. Approximately 24,405.72 Fenice SICAV-SIF SCA SICAV – Blu;

                 l.      All assets on deposit in account/portfolio number 10.609020 at Zarattini &

          Co. Bank in Lugano, SWITZERLAND, held in the name of Big Green Valley SA,

          including, but not limited to, all shares of Global Securities Trade Finance Class C Series

          C-1;

                 m.      All assets on deposit in account number 1465724 at City National Bank in

          New Jersey, held by Global Securities Trade Finance;

                 n.      All assets on deposit in account number 55102421 at City National Bank in

          New Jersey, held by Global Securities Trade Finance;

                 o.      Real property located at 2101 South Surf Road, Unit 2E, Hollywood,

          Florida; and

                 p.      Approximately $2 million in Series A convertible notes of Domaine Select

          Wine & Spirits, LLC, a Delaware limited liability company, acquired on or about

          September 22, 2016, and October 18, 2017, by Global Securities Trade Finance and

          Gustavo Hernandez, respectively.

   See Am. Protective Order 4-8 (identified by the same letter as in the Amended Protective Order).

          4.     On October 31, 2018, pursuant to a written Plea Agreement, the Defendant pleaded

   guilty to conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h) as charged

   in the Superseding Information.   See Minute Entry, ECF No. 61; Ortega’s Plea Agreement ¶ 2,




                                                   3
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 4 of 10



   ECF No. 64; Ortega’s Factual Proffer, ECF No. 65. In his Plea Agreement, the Defendant agreed

   to the following provisions, among others:

                  14.     The defendant agrees to forfeit to the United States voluntarily and
          immediately all property, real or personal, involved in the violation of Title 18,
          United States Code, Section 1956(h) charged in the Superseding Information and/or
          property that constitutes substitute assets, pursuant to Title 18, United States Code,
          Section 982(a)(1) and Title 21, United States Code, Section 853(p). The defendant
          agrees that such property includes, but is not limited to:
                  (i) A sum of at least $12 million in U.S. currency, which may be sought
                        as a forfeiture money judgment;
                  (ii) All assets on deposit in account numbers 1466054, 1465724, and
                        55102421 at City National Bank in New Jersey held by Global
                        Securities Trade Finance;
                  (iii) All assets on deposit in account/portfolio number 1303311-00 at
                        Deltec Bank & Trust Limited in Nassau, THE BAHAMAS, including,
                        but not limited to, all shares of Global Securities Trade Finance Class
                        D Series D-1;
                  (iv) All assets on deposit in account/portfolio number 10.609020 at
                        Zarattini & Co. Bank in Lugano, SWITZERLAND, held in the name
                        of Big Green Valley SA, including, but not limited to, all shares of
                        Global Securities Trade Finance Class C; and
                  (v) All assets on deposit in account number 200020600 at Ansbacher
                        Limited in THE BAHAMAS, held in the name of Greatwalls FS.
          The defendant agrees to consent to the entry of orders of forfeiture for such property
          and property specifically identified in the Indictment and the Superseding
          Information. The defendant admits and agrees that the conduct described in the
          Criminal Complaint, Indictment, Superseding Information, and Factual Proffer
          provides a sufficient factual and statutory basis for the forfeiture of the property
          sought by the United States.

   Ortega’s Plea Agreement ¶ 14.

          5.     As set forth in the Defendant’s Factual Proffer and the Declaration of HSI Special

   Agent Vega, the Defendant and others conspired to launder and engage in monetary transactions

   with the proceeds of corrupt currency exchanges involving Petróleos de Venezuela, S.A.

   (“PDVSA”). See Ortega’s Factual Proffer 2, ECF No. 65; attached SA Vega Decl. From August

   2004 through March 2016, the Defendant worked in various positions within PDVSA, and was a

   “foreign official” as that term is defined in the Foreign Corrupt Practices Act (“FCPA”). See




                                                    4
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 5 of 10



   Ortega’s Factual Proffer 2.

          6.          The Defendant and others conspired to launder approximately $12 million that were

   given to the Defendant as bribe payments in exchange for his corrupt acts and decisions in his

   official capacity as Executive Director of Financial Planning at PDVSA. See Ortega’s Factual

   Proffer at 7. The Defendant met and conspired with co-defendant Gustavo Adolfo Hernandez

   Frieri (“Hernandez”) to launder these illicit proceeds, which were being held by a confidential

   source (“CS”). See id. at 7-9; accord attached SA Vega Decl. At the direction of Hernandez,

   the Defendant’s $12 million in bribery proceeds was laundered to accounts at City National Bank

   in New Jersey held in the name of Global Securities Trade Finance (“GSTF”), as well as to Great

   Walls FS, a British Virgin Islands company controlled by the Defendant. See Ortega’s Factual

   Proffer 7-9; SA Vega Decl. ¶¶ 8-29; Ortega’s Plea Agreement ¶ 14. These bribery proceeds were

   used to acquire securities and real property. See Ortega’s Factual Proffer 7-9; SA Vega Decl.

   ¶¶ 8-29.

          7.          Accordingly, the property involved in the Defendant’s money laundering

   conspiracy and/or acquired with funds traceable to the laundered bribery proceeds include

   (collectively, the “Subject Assets”):

               (i)     All assets on deposit in account/portfolio number 10.609020 at Zarattini

                       & Co. Bank in Lugano, SWITZERLAND, held in the name of Big Green

                       Valley SA, including, but not limited to, all shares of Global Securities

                       Trade Finance Class C;

               (ii)    All assets on deposit in account numbers 1466054, 1465724, and

                       55102421 at City National Bank in New Jersey held by Global Securities

                       Trade and Finance;




                                                      5
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 6 of 10



               (iii) All assets on deposit in account/portfolio number 1303311-00 at Deltec

                     Bank & Trust Limited in Nassau, THE BAHAMAS, including, but not

                     limited, all shares of Global Securities Trade and Finance Class Series D-

                     1;

               (iv) Real property located at 2101 South Surf Road, Unit 2E, Hollywood,

                     Florida;

               (v)   Approximately $2 million in Series A convertible notes of Domaine

                     Select Wine & Spirits, LLC, a Delaware Limited Liability Company,

                     acquired on or about September 22, 2016, and October 18, 2017, by

                     Global Securities Trade and Finance and Gustavo Hernandez,

                     respectively; and

               (vi) All assets on deposit in account number 200020600 at Ansbacher Limited

                     in THE BAHAMAS, held in the name of Greatwalls FS.

   See Ortega’s Factual Proffer 7-9; SA Vega Decl. ¶¶ 8-29; Ortega’s Plea Agreement ¶ 14.

      II.    LEGAL STANDARD

            All property, real or personal “involved in” a violation of 18 U.S.C. § 1956, or any property

   traceable to such property, is subject to forfeiture to the United States. 18 U.S.C. § 982(a)(1).

   Property “involved in” a money laundering offense “includes that money or property which was

   actually laundered (‘the corpus’), along with ‘any commissions or fees paid to the launderer[ ] and

   any property used to facilitate the laundering offense.’” United States v. Seher, 562 F.3d 1344,

   1368 (11th Cir. 2009) (quoting and citing United States v. Puche, 350 F.3d 1137, 1153 (11th Cir.

   2003)). Funds that are pooled or commingled “to facilitate or disguise [a defendant’s] illegal

   scheme” are forfeitable. See id. (internal quotations omitted).




                                                     6
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 7 of 10



          If a defendant is convicted of such a violation, the Court “shall order” the forfeiture of the

   property as part of the sentence. See 18 U.S.C. § 982(a)(1). As part of the defendant’s sentence,

   criminal forfeiture is governed by the preponderance standard. See United States v. Hasson, 333

   F.3d 1264, 1277 (11th Cir. 2003). See also Libretti v. United States, 516 U.S. 29, 38-39 (1995)

   (holding that forfeiture is an “element of the sentence”). A forfeiture order may be sought as a

   money judgment. See Fed. R. Crim. P. 32.2(b)(1)(A), (2)(A). See also United States v. Padron,

   527 F.3d 1156, 1161-62 (11th Cir. 2008) (holding that Federal Rules of Criminal Procedure

   “explicitly contemplate the entry of money judgments in criminal forfeiture cases”).           Upon

   finding that property is subject to forfeiture, the Court:

              . . . must promptly enter a preliminary order of forfeiture setting forth the
              amount of any money judgment, directing the forfeiture of specific
              property, and directing the forfeiture of any substitute property if the
              government has met the statutory criteria.

   Fed. R. Crim. P. 32.2(b)(2)(A).

          The Court determines the amount of the money judgment “based on evidence already in

   the record, including any written plea agreement, and any additional evidence or information

   submitted by the parties and accepted by the court as relevant and reliable.” Fed. R. Crim. P.

   32.2(b)(1)(B). The amount of the money judgment should represent the full sum of the illegal

   proceeds, regardless of the defendant’s ability to satisfy the judgment at the time of sentencing.

   See United States v. McKay, 506 F. Supp. 2d 1206, 1211 (S.D. Fla. 2007) (adopting the majority

   rule). See also United States v. Blackman, 746 F.3d 137, 143-44 (4th Cir. 2014) (“The fact that a

   defendant is indigent or otherwise lacks adequate assets to satisfy a judgment does not operate to

   frustrate entry of a forfeiture order. . . . To conclude otherwise would enable wrongdoers to avoid

   forfeiture merely by spending their illegitimate gains prior to sentencing.”); United States v.

   Vampire Nation, 451 F.3d 189, 201-03 (3rd Cir. 2006) (money judgments “are appropriate even



                                                      7
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 8 of 10



   where the amount of the judgment exceeds the defendant’s available assets at the time of

   conviction”); United States v. Hall, 434 F.3d 42, 59 (1st Cir. 2006) (“ ... [E]ven if a defendant does

   not have sufficient funds to cover the forfeiture at the time of the conviction, the government may

   seize future assets to satisfy the order.”).

           If directly forfeitable property is not available, the Court may order the forfeiture of

   substitute assets to satisfy a money judgment. See 21 U.S.C. § 853(p); 28 U.S.C. § 2461(c); Fed.

   R. Crim. P. 32.2(e). Substitute assets are available for forfeiture upon a showing that, due to the

   defendant’s act or omission, directly forfeitable property:

           (A) cannot be located upon the exercise of due diligence;
           (B) has been transferred or sold to, or deposited with, a third party;
           (C) has been placed beyond the jurisdiction of the court;
           (D) has been substantially diminished in value; or
           (E) has been commingled with other property which cannot be divided without difficulty.

   21 U.S.C. § 853(p).      The government may establish such unavailability through an agent’s

   declaration. See United States v. Seher, 562 F.3d 1344, 1373 (11th Cir. 2009).

       III. DISCUSSION

           Based on the Defendant’s guilty plea, Plea Agreement, Factual Proffer, and the Declaration

   of HSI Special Agent Vega, the total amount involved in the Defendant’s money laundering

   conspiracy charged in the Superseding Information was at least $12 million.         Pursuant to Rule

   32.2 of the Federal Rules of Criminal Procedure, this sum may be sought as a forfeiture money

   judgment.    In addition, the Subject Assets constitute property involved in the Defendant’s money

   laundering conspiracy, and/or property traceable to such property, and thus, are subject to

   forfeiture pursuant to 18 U.S.C. § 982(a)(1).

             Accordingly, the United States respectfully requests the Court to issue the attached

   proposed order, which provides for a Preliminary Order of Forfeiture imposing a forfeiture money




                                                     8
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 9 of 10



   judgment and forfeiting the Subject Assets in partial satisfaction thereof; direct notice and

   publication of notice of the forfeiture; preservation of property; permission to conduct discovery

   to locate assets ordered forfeited and/or to expedite ancillary proceedings for the adjudication of

   third-party petitions, if any; and final forfeiture of the property.

           WHEREFORE, pursuant to 18 U.S.C. § 982(a)(1) and the procedures set forth in 21 U.S.C.

   § 853 and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the United States

   respectfully requests the entry of the attached order.


                                                            Respectfully submitted,

                                                            ARIANA FAJARDO ORSHAN
                                                            UNITED STATES ATTORNEY

                                                   By:      /s/ Nicole Grosnoff
                                                            Nicole Grosnoff
                                                            Assistant United States Attorney
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                                                            Facsimile: (305) 536-4089




                                LOCAL RULE 88.9 CERTIFICATION

           The undersigned counsel hereby certifies that on or about June 12, 2019 at approximately




                                                      9
Case 1:18-cr-20685-KMW Document 120 Entered on FLSD Docket 06/21/2019 Page 10 of 10



    5:31 pm., counsel for the United States, Assistant United States Attorney Nalina Sombuntham,

    contacted counsel for the Defendant, via e-mail, regarding the proposed forfeiture, and on June 19,

    2019, counsel for the Defendant indicated that there was no opposition to the proposed forfeiture.

                                                         /s Nicole Grosnoff
                                                         Nicole Grosnoff
                                                         Assistant United States Attorney


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 20, 2019, I electronically filed the foregoing

    document with the Clerk of the Court using CM/ECF.

                                                         s/Nicole Grosnoff_________
                                                         Nicole Grosnoff
                                                         Assistant United States Attorney




                                                    10
